                Case 1:10-cr-00417-AWI Document 62 Filed 09/13/11 Page 1 of 1


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 4
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 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                *****
11   UNITED STATES OF AMERICA,                    )       Case No. CR-F-10-0417 AWI
                                                  )
12                          Plaintiffs,           )       ORDER GRANTING
                                                  )       RULE 43 WAIVER OF PERSONAL
13   vs.                                          )       APPEARANCE AS TO DEFENDANT
                                                  )       MICHAEL MANFREDI
14                                                )
     MICHAEL MANFREDI, et. al.,                   )
15                                                )
                            Defendant.            )
16
17            Upon reviewing the Rule 43 waiver of personal appearance signed and filed by Michael
18   Manfredi, said Defendant shall be allowed to appear through counsel W. Scott Quinlan at any
19   pre-trial status hearing or motion not involving an evidentiary hearing without the necessity of
20   personally appearing at such hearings, unless otherwise ordered to appear by the Court.
21   IT IS SO ORDERED.
22
     Dated:     September 12, 2011
23   ciem0h                                           CHIEF UNITED STATES DISTRICT JUDGE
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